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                                     UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________________________________________________________________
In Re: Joann E. Sausman
             Debtor(s)                                                    Chapter: 13
                                                                          Bankruptcy No: 16−10260−elf
_____________________________________________________________________________________________
                   ORDER CONFIRMING PLAN UNDER CHAPTER 13
    AND NOW, this August 23, 2016 upon consideration of the plan submitted by the debtor
under chapter 13 of title 11 U.S.C. and the standing trustee's report which has been filed; and it
appearing that:


     A. a meeting of creditors upon notice pursuant to 11 U.S.C. 341 (a) and a confirmation
hearing upon notice having been held;
      B. the plan complies with the provisions of 11 U.S.C. 1322 and 1325 and with other
applicable provisions of title 11 U.S.C.;
     C. any fee, charge or amount required under chapter 13 of title 28 or by the plan, to be paid
before confirmation, has been paid;
WHEREFORE, it is ORDERED that the plan is CONFIRMED.
                                                                  Eric L. Frank
                                                                  Chief Judge ,
                                                                  United States Bankruptcy Court
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                                                                                                              Form 155
